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                                 '-   ...
                             I
                             Name:R.~U\                    Gal\l(lMIJ~
                                                                 ;lD;JD\l.,
                           · Aiizona Sate Prison Complex: ~... , -                 h   -~
                                                                                                                                                            .


                         2 ~Box:JUOO Unit '-l .? · •
                         3              ~•1~J; ,
                                              AZ    'I",_ , 1 ~ 1                                                         FEB 21 2020
                            Inl?ropf1iTersona                  ·                                                   CLC! ;r;, US DI'.:~! 1 ; 1c l COURT
                         4                                                                                      SOUTi-ilHN IJIS I HIC I Of- CAL~ri~ 1   ¢
                                                                                                                BY           __                     -




                                            COMES NOW,        g,bevi. tn.b)ClV\. _,in propiapersona, the Petitioner herein,
                 15          and moves this honorable Court t,;, grant a motipn to quash warrants for the following reasons;
             16                             1. T_hat Petitioner,   RuE,&NJ ~ fl: Lvw, has wan:ants on the listed citation:
             11                   /7LR07 '39 1- WO-t\-- \
             l&                    .2:, That Petitioner, 'Rv:e£:N, G14WW\lm presently incarcerated and serving
            i9 . a               Q           Jeat prison sentence.                                                   ,•

           20                  \ 3. i;>etltioner re)Jlains inc;ligent and without any soµrce ofin,ome or fuqds which to pay
           21            an:y outstan~g warrants or fines.

          22         <I. Becaus~ of the signifipa,nt change in circumstances, Petitio)ler respect:fully requests that
         23. any or all charges
                         .
                                and/or:fines be disprissed, cir entered as a eoncunentjail
                                                                                         .
                                                                                            term in absentia,
                                                                                                         .
         24
                                      5. -Upon :final disposition in the above en#tled !lfiltter, Defendant would very much
        2:5           a,ppreciate being informed by tlie·Court in writing anjsuch disposition.
        i6
    · 27
                                  WBEREFciRE, the Petitioner asks that tlµs hoporable Cou,i grant bis motion to' quash
       28            outstanding warrants               and/;r, fines, or in the_ alternative sentence him to a concurrent jail term.
.,,.. ~...-: :
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...   '   .

      .       '

          1 Respectfully ~bmitted this   fl/         day of   Qece111/2e4-   ,~q
          2
          3       ~e✓,.       ~ e . . . _ · HFo
                            ...
                  tgnature ofPeti.onr      =..
                                                          1vv111?.::. ~P--    6 1/03'/ 2- '1'?'
          4
          5

          6 ·Pursuant to 28 US. C. 1746, I declqre under penatty ofperjury that the foregoing is true and
                  correct                                                ·
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                    Arizona Department of Corrections


                    Sentence Calculation Worksheet
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                                                  Sentence Worksheet. Commitment Count 83




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